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                                                                                                                       January 8, 2021

             Honorable Gregory H. Woods           MEMORANDUM                                                          ENDORSED
             United States District Judge
             Southern District of New York
             Daniel Patrick Moynihan United States Courthouse
             500 Pearl St.
             New York, NY 10007-1312

                                    Re:         United States v. Maurice Barnes
                                                15 CR 454 (GHW)

             Dear Judge Woods:

                    Maurice Barnes was scheduled for resentencing on January 20, 2021. Although the
             Government timely submitted a writ for his production, Mr. Barnes remains incarcerated at the
             USP Lewisburg in Pennsylvania. The Court has issued an Order directing the parties to confer
             and write the Court regarding an adjourn date for the resentencing in light of Chief Judge
                          recent Standing Order temporarily suspending certain Court operations.

                        Consistent with the U.S. Constitution, Federal Rules of Criminal Procedure, and Chief

             request that the anticipated resentencing proceeding under FRCrP Rule 32 be conducted by video
             teleconferencing, or telephone conferencing if video conferencing is not reasonably available, at
             a date and time convenient to the Court. The Government has no objection to this request.

                   Mr. Barnes has already served approximately two-thirds of his total 96 month sentence.
             The Bureau of Prisons calculates that Mr. Barnes is currently eligible for release on home

             for the many reasons set forth in our sentencing submission. Since the Court may agree with the
             defense recommendation, I respectfully submit that the Court find the resentencing should not be
             further delayed for any significant period of time without serious harm to the interests of justice.
             The Defendant consents to appearing remotely, and will execute waiver and consent forms.

                                                                                               Respectfully submitted,



             cc: Samuel Enzer, AUSA                                                            Scott B. Tulman
Application granted in part. Counsel for the defendant is directed to submit an appropriate consent form for a remote plea to the Court no later than January 15, 2021. Counsel
should be prepared to make a proffer regarding the reasons why the sentencing cannot be further adjourned without serious harm to the interests of justice sat the outset of the
proceeding. Given the schedule for remote proceedings, the Court may need to change the date and time of the sentencing. But the Court will endeavor to schedule the
proceeding for a date and time as close to the currently scheduled date and time as is feasible,. The Court will issue a separate order in the event that a change in the schedule is
necessary.
The Clerk of Court is directed to terminate the motion pending at Dkt. No. 156.
SO ORDERED
January 9, 2021
